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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MERRILL PRIMACK,                              )
individually and on behalf of a class,        )
                                              )       Case No.:      14-cv-8772
                       Plaintiff,             )
                v.                            )       Honorable Judge James B. Zagel
                                              )       Magistrate Judge Young B. Kim
STARION ENERGY PA, INC.                       )
and JOHN DOES 1-10,                           )
                                              )
                       Defendants.            )


                                    STIPULATION TO DISMISS

        NOW COME the Parties, by and through their respective attorneys, and pursuant to Fed.

R. Civ. Proc. 41(a), hereby stipulate and agree to the dismissal of Plaintiff’s claims against

Defendants with prejudice, with each party to bear its own costs. Plaintiff’s claims on behalf of a

putative class are hereby dismissed without prejudice. This stipulation of dismissal disposes of

this entire action.



/s/Francis R. Greene                                                 /s/Paul Gamboa
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    Case: 1:14-cv-08772 Document #: 38 Filed: 01/25/16 Page 2 of 2 PageID #:184



                                 CERTIFICATE OF SERVICE

        I, Francis R. Greene, hereby certify that on January 25, 2016, I caused to be filed the
foregoing document with the Clerk of the Court using the CM/ECF System, which will send
notification of such filing to the following counsel of record:

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                                                             s/ Francis R. Greene
                                                             Francis R. Greene
